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                                        EXHIBIT D

                     Detailed Description of Expenses and Disbursements




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                                    DETAILED EXPENSE SUMMARY
                                  APRIL 1, 2016 THROUGH APRIL 30, 2016

Invoice                           Timekeeper Who        Expense         Unit   # Of
          Matter         Date                                                             Total         Expense Description
Number                            Incurred Expense      Category        Cost   Units
                                  P. Stephen         Telephone
598306     004          4/6/16                                                            $0.401      Long Distance
                                  Gidiere            Charges
                                  P. Stephen         Telephone
598306     004          4/11/16                                                           $2.10       Long Distance
                                  Gidiere            Charges
                                  P. Stephen         Telephone
598306     004          4/11/16                                                           $0.50       Long Distance
                                  Gidiere            Charges
                                  P. Stephen         Telephone
598306     004          4/12/16                                                           $1.00       Conference Call
                                  Gidiere            Charges
598306     004          4/19/16   C. Grady Moore     Airfare                              $25.00      Airline baggage fees
                                                                                                      Airfare from
                                  P. Stephen
598306     004          4/19/16                      Airfare                             $417.48      Birmingham, AL to
                                  Gidiere
                                                                                                      Washington, DC
                                  P. Stephen                                                          Required airline seating
598306     004          4/19/16                      Airfare                              $9.00
                                  Gidiere                                                             fee
                                  P. Stephen
598306     004          4/19/16                      Transportation                       $25.25      Cab fare to hotel
                                  Gidiere
                                                     Transportation
                                                                                                      Cab fare from airport to
598306     004          4/19/16   C. Grady Moore     to/from                              $19.00
                                                                                                      office
                                                     Airport
                                                     Transportation
598306     004          4/19/16   David Mitchell     to/from                              $11.79      Cab fare to airport
                                                     Airport
                                                     Transportation
                                  P. Stephen                                                          Travel to Birmingham
598306     004          4/19/16                      to/from                              $2.30
                                  Gidiere                                                             airport
                                                     Airport
                                                     Transportation
                                  P. Stephen                                                          Cab fare from airport to
598306     004          4/19/16                      to/from                              $20.00
                                  Gidiere                                                             hotel.
                                                     Airport
                                                     Travel
                                  P. Stephen                                                          Lodging in Washington
598306     004          4/19/16                      Expenses –                         $1,119.822
                                  Gidiere                                                             DC (2 nights)
                                                     Lodging
598306     004          4/19/16   C. Grady Moore     Travel Meals                         $9.00       Lunch (1 person)
598306     004          4/19/16   David Mitchell     Travel Meals                         $10.34      Lunch (1 person)
                                  P. Stephen
598306     004          4/19/16                      Travel Meals                         $15.36      Breakfast (1 person)
                                  Gidiere
598306     004          4/20/16   David Mitchell     Travel Meals                         $7.15       Breakfast (1 person)
                                  P. Stephen
598306     004          4/20/16                      Travel Meals                         $97.24      Lunch (6 people)
                                  Gidiere
                                  P. Stephen
598306     004          4/20/16                      Travel Meals                         $8.80       Breakfast (1 person)
                                  Gidiere
598306     004          4/21/16   C. Grady Moore     Airfare                              $25.00      Airline baggage fees
                                                     Other Travel
598306     004          4/21/16   C. Grady Moore                                          $27.38      Hotel internet service
                                                     Expenses


     1    Italicized entries for Telephone Charges represent those calls which cannot be classified as multi-party
          conference calls. A total of $13.92 in telephone charges is not reimbursable.
     2    Pursuant to the Fee Committee’s correspondence dated August 20, 2015, hotel rooms are capped at $500.00 per
          night for Washington, DC. Therefore, $119.82 is not reimbursable.




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Invoice                           Timekeeper Who         Expense        Unit   # Of
          Matter         Date                                                             Total         Expense Description
Number                            Incurred Expense      Category        Cost   Units
                                  P. Stephen         Other Travel
598306     004          4/21/16                                                           $15.95      In-flight internet service
                                  Gidiere            Expenses
                                  P. Stephen         Other Travel
598306     004          4/21/16                                                           $58.00      Airport Parking
                                  Gidiere            Expenses
                                  P. Stephen         Other Travel
598306     004          4/21/16                                                           $2.003      Baggage fees
                                  Gidiere            Expenses
                                                     Transportation
                                                                                                      Cab fare from hotel to
598306     004          4/21/16   C. Grady Moore     to/from                              $18.00
                                                                                                      airport
                                                     Airport
                                                     Transportation
                                  P. Stephen                                                          Travel from Birmingham
598306     004          4/21/16                      to/from                              $2.29
                                  Gidiere                                                             airport
                                                     Airport
                                                     Transportation
                                  P. Stephen                                                          Cab fare from hotel to
598306     004          4/21/16                      to/from                              $16.83
                                  Gidiere                                                             airport
                                                     Airport
                                                     Travel
                                                                                                      Lodging in Washington
598306     004          4/21/16   C. Grady Moore     Expenses –                         $1,142.724
                                                                                                      DC (2 nights)
                                                     Lodging
                                                     Travel
                                                                                                      Lodging in Washington
598306     004          4/21/16   David Mitchell     Expenses –                         $1,142.725
                                                                                                      DC (2 nights)
                                                     Lodging
598306     004          4/21/16   C. Grady Moore     Travel Meals                         $7.41       Breakfast (1 person)
598306     004          4/21/16   David Mitchell     Travel Meals                         $7.04       Breakfast (1 person)
                                  P. Stephen
598306     004          4/21/16                      Travel Meals                         $2.81       Breakfast (1 person)
                                  Gidiere
                                  P. Stephen
598306     004          4/21/16                      Travel Meals                         $24.03      Lunch (1 person)
                                  Gidiere
                                  P. Stephen
598306     004          4/21/16                      Travel Meals                         $2.65       Breakfast (1 person)
                                  Gidiere
                                                                                                      Cab fare from hotel to
598306     004          4/22/16   David Mitchell     Transportation                       $5.40
                                                                                                      meeting.
598306     004          4/22/16   David Mitchell     Transportation                       $5.40       Cab fare from meeting
                                                     Transportation
                                                                                                      Cab fare from meeting to
598306     004          4/22/16   David Mitchell     to/from                              $19.20
                                                                                                      airport
                                                     Airport
                                  P. Stephen         Telephone
598306     004          4/25/16                                                           $1.40       Long Distance
                                  Gidiere            Charges
                                                                                                      Airfare from Orlando,
598307     007          3/28/16   Amy Benschoter     Airfare                             $173.98
                                                                                                      FL to Dallas, TX
                                                                                                      Roundtrip airfare
                                  Tom
598307     007          3/28/16                      Airfare                             $324.95      between Birmingham,
                                  DeLawrence
                                                                                                      AL and Dallas, TX




     3    Pursuant to correspondence from the Fee Committee, baggage fees and tips are not reimbursable. Therefore,
          $2.00 has been deducted.
     4    Pursuant to the Fee Committee’s correspondence dated August 20, 2015, hotel rooms are capped at $500.00 per
          night for Washington, DC. Therefore, $142.72 is not reimbursable.
     5    Pursuant to the Fee Committee’s correspondence dated August 20, 2015, hotel rooms are capped at $500.00 per
          night for Washington, DC. Therefore, $142.72 is not reimbursable.


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Invoice                           Timekeeper Who           Expense        Unit    # Of
          Matter         Date                                                                    Total      Expense Description
Number                            Incurred Expense        Category        Cost    Units
                                                       Other Travel
598307      007         3/28/16    Amy Benschoter                                                $7.006   Baggage handling fee
                                                       Expenses
                                                       Transportation
                                                                                                          Cab fare from airport to
598307      007         3/28/16    Amy Benschoter      to/from                                   $30.00
                                                                                                          client office
                                                       Airport
                                                       Transportation
598307      007         3/28/16    Amy Benschoter      to/from                                   $50.72   Cab fare to airport
                                                       Airport
                                                       Transportation
                                  Tom                                                                     Cab fare from airport to
598307      007         3/28/16                        to/from                                   $28.00
                                  DeLawrence                                                              client office
                                                       Airport
598307      007         3/28/16   Amy Benschoter       Travel Meals                              $9.01    Lunch (1 person)
598307      007         3/28/16   Amy Benschoter       Travel Meals                              $6.03    Breakfast (1 person)
598307      007         3/28/16   Amy Benschoter       Travel Meals                              $2.09    Breakfast (1 person)
                                  Tom
598307      007         3/28/16                        Travel Meals                              $7.90    Breakfast (1 person)
                                  DeLawrence
                                  Tom
598307      007         3/28/16                        Travel Meals                              $24.16   Lunch (3 people)
                                  DeLawrence
                                  Tom
598307      007         3/28/16                        Travel Meals                          $99.287      Dinner (2 people)
                                  DeLawrence
                                                                                                          Airfare from Dallas, TX
598307      007         3/29/16    Amy Benschoter      Airfare                               $159.98
                                                                                                          to Birmingham, AL
                                                       Other Travel
598307      007         3/29/16    Amy Benschoter                                            $56.078      Airport parking
                                                       Expenses
                                  Tom                  Other Travel
598307      007         3/29/16                                                                  $24.00   Airport parking
                                  DeLawrence           Expenses
                                  Tom                  Other Travel
598307      007         3/29/16                                                                  $5.009   Baggage fee
                                  DeLawrence           Expenses
                                                       Transportation
                                                                                                          Cab fare from client
598307      007         3/29/16    Amy Benschoter      to/from                                   $30.00
                                                                                                          office to airport
                                                       Airport
                                                       Travel
                                                                                                          Lodging in Dallas, TX (1
598307      007         3/29/16    Amy Benschoter      Expenses –                            $169.44
                                                                                                          night)
                                                       Lodging
                                                       Travel
                                  Tom                                                                     Lodging in Dallas, TX (1
598307      007         3/29/16                        Expenses –                            $169.44
                                  DeLawrence                                                              night)
                                                       Lodging
598307      007         3/29/16   Amy Benschoter       Travel Meals                              $11.53   Breakfast (1 person)
598307      007         3/29/16   Amy Benschoter       Travel Meals                              $4.72    Lunch (1 person)
                                  Tom
598307      007         3/29/16                        Travel Meals                              $32.62   Lunch (4 people)
                                  DeLawrence



     6    Pursuant to correspondence from the Fee Committee, baggage fees and tips are not reimbursable. Therefore,
          $7.00 has been deducted.
     7    Pursuant to the Fee Committee’s initial memorandum, dated October 3, 2014, meals are capped at $40.00 per
          person, per meal. Therefore, $19.28 is not reimbursable.
     8    The amount listed reflects a calculation error. Therefore, $25.07 has been deducted.
     9    Pursuant to correspondence from the Fee Committee, baggage fees and tips are not reimbursable. Therefore,
          $5.00 has been deducted.


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Invoice                           Timekeeper Who         Expense        Unit     # Of
          Matter         Date                                                                Total         Expense Description
Number                            Incurred Expense       Category       Cost     Units
                                  P. Stephen          Telephone
598307      007         4/6/16                                                               $2.10       Long Distance
                                  Gidiere             Charges
                                  Tom                 Telephone
598307      007         4/20/16                                                              $1.80       Conference Call
                                  DeLawrence          Charges
                                  P. Stephen          In-house
598307      007         4/25/16                                         $0.10     218       $21.80       Standard Copies
                                  Gidiere             Copying
                                  P. Stephen          In-house
598307      007         4/25/16                                         $0.50     519       $259.50      Color Copies
                                  Gidiere             Copying
                                  P. Stephen          Telephone
598307      007         4/25/16                                                              $0.20       Long Distance
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         3/15/16                                                              $2.02       Long Distance
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         3/15/16                                                             $2.0210      Long Distance
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         3/23/16                                                             $11.40       Conference Call
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         3/23/16                                                            $11.4011      Conference Call
                                  Gidiere             Charges
                                  P. Stephen          In-house
598310      011         4/4/16                                          $0.10      2         $0.20       Standard Copies
                                  Gidiere             Copying
                                  P. Stephen          In-house
598310      011         4/4/16                                          $0.50      3         $1.50       Color Copies
                                  Gidiere             Copying
                                                      Telephone
598310      011         4/4/16    David Mitchell                                             $0.30       Long Distance
                                                      Charges
                                  P. Stephen          Telephone
598310      011         4/6/16                                                               $1.60       Conference Call
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         4/11/16                                                              $0.30       Long Distance
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         4/11/16                                                              $0.50       Conference Call
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         4/12/16                                                              $0.20       Long Distance
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         4/12/16                                                              $0.20       Long Distance
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         4/12/16                                                              $2.10       Conference Call
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         4/13/16                                                              $0.30       Conference Call
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         4/13/16                                                              $1.50       Conference Call
                                  Gidiere             Charges
                                  P. Stephen          Telephone
598310      011         4/15/16                                                              $1.30       Long Distance
                                  Gidiere             Charges
                                  P. Stephen          In-house
598310      011         4/17/16                                         $0.50      4         $2.00       Color Copies
                                  Gidiere             Copying
                                  P. Stephen
598310      011         4/18/16                       Deliveries                            $66.74       Federal Express
                                  Gidiere
                                  P. Stephen          Telephone
598310      011         4/18/16                                                              $0.70       Conference Call
                                  Gidiere             Charges


     10   This charge reflects a duplicate expense and therefore $2.02 has been deducted from requested expenses.
     11   This charge reflects a duplicate expense and therefore $11.40 has been deducted from requested expenses.


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Invoice                             Timekeeper Who         Expense        Unit     # Of
            Matter         Date                                                                Total         Expense Description
Number                              Incurred Expense       Category       Cost     Units
                                    P. Stephen
 598310       011         4/21/16                       Deliveries                            $20.21      Federal Express
                                    Gidiere
                                    P. Stephen
 598310       011         4/21/16                       Deliveries                            $25.03      Federal Express
                                    Gidiere
                                    P. Stephen          Telephone
 598310       011         4/26/16                                                              $0.20      Long Distance
                                    Gidiere             Charges
                                    P. Stephen
 598311       017         4/4/16                        Deliveries                            $12.49      Federal Express
                                    Gidiere
                                    P. Stephen          Telephone
 598312       018         3/10/16                                                             $11.21      Conference Call
                                    Gidiere             Charges
                                    P. Stephen          Telephone
 598312       018         3/10/16                                                            $11.2112     Conference Call
                                    Gidiere             Charges
                                    P. Stephen          Telephone
 598312       018         4/5/16                                                               $1.70      Long Distance
                                    Gidiere             Charges
                                    P. Stephen          Telephone
 598312       018         4/5/16                                                               $0.80      Long Distance
                                    Gidiere             Charges
                                    P. Stephen          Telephone
 598312       018         4/6/16                                                               $0.20      Long Distance
                                    Gidiere             Charges
                                    P. Stephen          Telephone
 598312       018         4/14/16                                                              $0.90      Conference Call
                                    Gidiere             Charges
                                                        Telephone
 598315       024         3/30/16   Scott B. Grover                                            $0.20      Conference Call
                                                        Charges
Total Expenses:                                                                            $6,229.51

Less: Expense Adjustment13                                                                 $502.16

Total Expenses Sought:                                                                     $5,727.35




       12   This charge reflects a duplicate expense and therefore $11.21 has been deducted from requested expenses.
       13   Reflects actual expenses incurred during Fee Period which are not reimbursable pursuant to the Fee
            Committee’s initial memorandum, dated October 3, 2014, and subsequent communications.


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